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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



    THE STATE OF FLORIDA,

          Plaintiff,

    v.                                             CASE NO. 8:21-cv-2524-SDM-TGW

    BILL NELSON, et al.,

          Defendants.
    ___________________________________/


                                           ORDER

          Executive Order 14042 directs the Federal Acquisition Regulatory Council to

    amend the Federal Acquisition Regulation (FAR) to include a clause requiring

    compliance with guidance issued by the Safer Federal Workforce Task Force and

    approved by the Director of OMB. Pending the FAR Council’s rulemaking to

    amend the FAR, the executive order, “effective immediately,” states that federal

    agencies “shall, to the extent permitted by law, ensure that contracts and contract-

    like instruments include” the clause. In accord with the executive order, the FAR

    Council has issued guidance instructing each agency to include the clause by “class

    deviations” from the FAR (until the FAR Council amends the FAR to include the

    clause).

          In reply and during the hearing on the motion for a preliminary injunction,

    Florida contended that 41 U.S.C. § 1707 (requiring notice and comment for, and
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    delaying the effectiveness of, a “procurement policy, regulation, procedure, or form”)

    applies to each agency’s implementing a class deviation to include the clause in each

    contract.

          Not later than DECEMBER 15, 2021, Florida may in a supplemental brief

    not to exceed ten pages address:

          (1)    Whether the procedural requirements of 41 U.S.C. § 1707 (or another

    requirement of notice and comment and delayed effectiveness) apply to an agency

    implementing the class deviations in accord with the executive order’s direction and

    the FAR Council’s instruction.

          (2)    Whether a United States District Court has jurisdiction to resolve a

    challenge under 41 U.S.C. § 1707 to an agency’s implementation of the deviations.

          (3)    Whether the agencies subject to the executive order have complied with

    the requirements and exceptions of 41 U.S.C. § 1707.

          (4)    Whether relief is available and, if so, what kind, against the named

    defendants if the agencies are subject to, but fail to comply with, the requirements of

    41 U.S.C. § 1707.

          Not later than DECEMBER 22, 2021, the defendants may respond in a brief

    not exceeding ten pages.

          ORDERED in Tampa, Florida, on December 9, 2021.




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